                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION



UNITED STATES OF AMERICA,                             )
                                                      )
                                                      )
v.                                                    )       No. 3:09-cr-00186
                                                      )
                                                      )
SIXTO ARELLANO-GARCIA,                                )       Judge Trauger



                                                 ORDER

        Before the court is counsel’s sealed motion to be permitted to withdraw from representing

defendant Sixto Arellano-Garcia. Counsel Thomas Drake was appointed solely for the purpose of

assisting the defendant in the filing of a motion under 28 U.S.C. § 2255 to challenge his conviction in this

case. Counsel further seeks, on behalf of Mr. Arellano-Garcia, an extension of the already-extended

deadline for filing a § 2255 motion. (ECF No. 754.)

        Also before the court is a notice filed pro se by Sixto Arellano-Garcia in which the defendant

expressly declines the representation of Thomas Drake. (ECF No. 757.)

        For good cause shown, the motion to withdraw is GRANTED. The motion for extension of time is

likewise GRANTED, and Sixto Arellano-Garcia shall have until Friday, November 21, 2014 to file a motion

under 28 U.S.C. § 2255 to challenge the conviction in this case, if he so chooses.

        It is so ORDERED.




                                                          Aleta A. Trauger
                                                          United States District Judge




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